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                        UNITED STATES DISTRICT COURT
                                  FOR THE
                       NORTHERN DISTRICT OF NEW YORK

DAVID PERRY,                   )
                               )
                               )
          Plaintiff            )
                               ) Case No.: 1:21-cv-00369-DNH-DJS
       v.                      )
                               )
VEHICLE PROTECTION SPECIALISTS )
et al,                         )
                               )
                               )
          Defendant            )

                       NOTICE OF VOLUNTARY DISMISSAL


TO THE CLERK:

       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiff voluntarily

dismisses the Complaint with prejudice.




Dated: June 11, 2021                       BY: /s/ Craig T. Kimmel
                                           Craig T. Kimmel, Esquire
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                                           30 East Butler Pike
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                                           Attorney for Plaintiff
   Case 1:21-cv-00369-DNH-DJS Document 9 Filed 06/11/21 Page 2 of 2




                            CERTIFICATE OF SERVICE

       I hereby certify that on this 11th day of June, 2021, a true and correct copy of the

foregoing pleading served via electronic mail to the below:


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Fort Lauderdale, FL 33309
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Attorney for the Defendant


Dated: June 11, 2021                           /s/ Craig T. Kimmel
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